Case 1:21-cv-00578-RBW Document1 Filed 03/04/21 Page 1 of6

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

LINDA YOO LEE
3415 S Sepulveda Blvd
Ste. 570

Los Angeles, CA 90034

Plaintiff,

VS.

U.S. DEPARTMENT OF HOMELAND
SECURITY

245 Murray Lane SW

STOP-0655

Washington, D.C. 20528-0655

Defendant

Case No.:

(COMPLAINT

 
Case 1:21-cv-00578-RBW Document1 Filed 03/04/21 Page 2 of 6

COMPLAINT
. This is an action under the Freedom of Information Act ("FOIA"), 5 U.S.C. §
552, as amended, to compel the United States Department of Homeland
Security (DHS), to immediately produce any and all documents from the U.S.
Customs & Border Protection Agency (an agency within the DHS) related to
Luis Domingo’s entry into the United States.

PARTIES
. Linda Yoo Lee is a licensed attorney with an office at 3415 S Sepulveda Blvd
Ste. 370 Los Angeles, CA 90034.
. The United States Department of Homeland Security (DHS) is an agency of
the United States, residing in the District of Columbia.
. The DHS is an agency within the meaning of 5 USC § 552(f).
JURISDICTION
. Since this is a civil action arising under the Freedom of Information Act, 5
U.S.C. § 552 (FOIA), a law of the United States, original jurisdiction over this

action is vested in this Court by 28 U.S.C. § 1331.

BRIEF STATEMENT OF PERTINENT FACTS
. On September 19, 2019, the DHS received a request under FOIA from plaintiff

Linda Yoo Lee, for any and all documents from the U.S. Customs & Border
Case 1:21-cv-00578-RBW Document1 Filed 03/04/21 Page 3 of 6

Protection Agency related to Sabino Flores-Gonzalez entr(ies) into the United
States.. Exhibit A at 1-12.

7. In this request Ms. Lee consented to pay all costs incurred for search,
duplication, and review of documents up to $25. Exhibit A at 6.

8. She also included with the request a Verification of Identity and Subject of
Record Consent from Sabino Flores Gonzalez in which he consented of the
release of the same records to Ms. Lee, Id. at 9 together with a properly
completed Form FD-258, including the prints of all ten of his fingers. Id. at 12.

9. On December 27, 2019, the DHS sent Ms. Lee an email acknowledging this
receipt and assigning her request the number of 2020-OBFO-09229. Exhibit B.

10. No further response from DHS was forthcoming thereafter.

11. As of the date of the filing of this complaint DHS had not determined whether
to comply with such request nor has it notified plaintiff of such determination
and the reasons therefor, and of the right of the plaintiff to appeal to the head

of the agency any adverse determination.

STATEMENT OF RELEVANT LAW
12.5 U.S.C. § 552(a)(3)(A) provides that:
Except with respect to the records made available under paragraphs (1) and

(2) of this subsection, and except as (E), each agency, upon any request for
Case 1:21-cv-00578-RBW Document1 Filed 03/04/21 Page 4 of 6

records which (i) reasonably describes such records and (ii) is made in
accordance with published rules stating the time, place, fees (if any), and
procedures to be followed, shall make the records promptly available to any

person.

13.5 U.S.C. § 552(a)(6) provides in relevant part that “each agency, upon any
request for records made under paragraph (1), (2), or (3) of this subsection,
shall--

14.determine within 20 days (excepting Saturdays, Sundays, and legal public
holidays) after the receipt of any such request whether to comply with such
request and shall immediately notify the person making such request of such
determination and the reasons therefor, and of the right of such person to

appeal to the head of the agency any adverse determination.

15.5 U.S.C. § 552(a)(4)(B) provides in relevant part that
On complaint, the district court of the United States in the district in which
the complainant resides, or has her principal place of business, or in which
the agency records are situated, or in the District of Columbia, has
jurisdiction to enjoin the agency from withholding agency records and to

order the production of any agency records improperly withheld from the
Case 1:21-cv-00578-RBW Document1 Filed 03/04/21 Page 5 of6

complainant.
CAUSE OF ACTION

16.The United States Department of Homeland Security, despite receiving the
aforementioned request from Linda Yoo Lee which reasonably described such
records and was made in accordance with published rules stating the time,
place, fees (if any), and procedures to be followed, has failed to determine
whether to make those records available to her and notify her of that
determination within the applicable time limit provisions of 5 U.S.C. §
552(a)(6).

17.Accordingly, Linda Yoo Lee has exhausted her administrative remedies with
respect to such request.

18.The United States Department of Homeland Security has improperly withheld
from Linda Yoo Lee the documents identified in that request.

19.Therefore, this Court should enjoin the United States Department of Homeland
Security from withholding from Linda Yoo Lee all documents in the agency's

possession relating to Luis Domingo.

Respectfully Submitted this 25th day of January, 2021

s/Michael E. Piston
Michael E Piston

Attomey for Plaintiff
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Case 1:21-cv-00578-RBW Document1 Filed 03/04/21 Page 6 of 6

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